B9I (Official Form 9I) (Chapter 13 Case) (12/12)                                                                 Case Number 13−52817−swr
                                          UNITED STATES BANKRUPTCY COURT
                                               Eastern District of Michigan
                                              Notice of
                     Chapter 13 Bankruptcy Case, Meeting of Creditors, & Deadlines
      The debtor(s) listed below filed a chapter 13 bankruptcy case on 6/28/13.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
        Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                    See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Robert Adams
3986 Fieldview Road
Lake Orion, MI 48360
Case Number                                                             Social Security / Individual Taxpayer ID / Employer Tax ID / Other
13−52817−swr                                                            nos:
                                                                        xxx−xx−4243
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
Kevin W. Kevelighan                                                     Krispen S. Carroll
P.O. Box 399                                                            719 Griswold
Bloomfield Hills, MI 48303                                              1100 Dime Building
Telephone number: (248) 594−4467                                        Detroit, MI 48226
                                                                        Telephone number: (313) 962−5035

                                                       Meeting of Creditors
Date: August 9, 2013                                                    Time: 09:00 AM
Location: 211 West Fort St., Room 315, Detroit, MI 48226

                                                               Deadlines:
                            Papers must be received by the bankruptcy clerk's office by the following deadlines:
                                                 Deadline to File a Proof of Claim:
       For all creditors (except a governmental unit): 11/7/13          For a governmental unit: 180 days (except as otherwise provided in
                                                                        Fed. R. Bankr. P. 3002(c)(1))
                                                  Creditor with a Foreign Address:
         A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 10/8/13
                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.
                                                  Hearing on Confirmation of Plan

  THE DEADLINE FOR FILING OBJECTIONS TO THE CONFIRMATION OF THE PLAN IS 21 DAYS
             FROM THE DATE FIRST SET FOR THE MEETING OF CREDITORS.
                          The hearing on confirmation will be held:
               Date: 9/25/13, Time: 03:00 PM, Location: Courtroom 1825, 211 West Fort Street Bldg., Detroit, MI 48226

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor, the debtor's
property, and certain codebtors. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you
may be penalized. Consult a lawyer to determine your rights in this case.
Address of the Bankruptcy Clerk's Office:                               For the Court:
211 West Fort Street                                                    Clerk of the Bankruptcy Court:
Detroit, MI 48226                                                       Katherine B. Gullo
Telephone number: 313−234−0065
Hours Open: Monday − Friday 08:30 AM − 4:00 PM                          Date: 7/2/13




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                                                         EXPLANATIONS                                            B9I (Official Form 9I) (12/12)
Filing of Chapter 13    A bankruptcy case under Chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case         court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows an
                        individual with regular income and debts below a specified amount to adjust debts pursuant to a plan. A plan is not
                        effective unless confirmed by the bankruptcy court. You may object to confirmation of the plan and appear at the
                        confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you later, and if the
                        confirmation hearing is not indicated on the front of this notice, you will be sent notice of the confirmation hearing.
                        The debtor will remain in possession of the debtor's property and may continue to operate the debtor's business, if
                        any, unless the court orders otherwise.
Legal Advice            The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
                        case.
Creditors Generally  Prohibited collection actions against the debtor and certain codebtors are listed in Bankruptcy Code § 362 and §
May Not Take Certain 1301. Common examples of prohibited actions include contacting the debtor by telephone, mail or otherwise to
Actions              demand repayment; taking actions to collect money or obtain property from the debtor; repossessing the debtor's
                     property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                     certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court
                     to extend or impose a stay.
Meeting of Creditors    A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                        in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                        are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                        specified in a notice filed with the court.
Claims                  A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form ("Official Form B 10")
                        can be obtained at the United States Courts website:
                        (http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. A
                        secured creditor retains rights in its collateral regardless of whether that creditor files a Proof of Claim. If you do not
                        file a Proof of Claim by the "Deadline to File a Proof of Claim" listed on the front side, you might not be paid any
                        money on your claim from other assets in the bankruptcy case. To be paid, you must file a Proof of Claim even if
                        your claim is listed in the schedules filed by the debtor. Filing a Proof of Claim submits the creditor to the
                        jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who
                        files a Proof of Claim may surrender important nonmonetary rights, including the right to a jury trial. Filing
                        Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of this
                        notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor may file a
                        motion requesting the court to extend the deadline.
                        Do not include this notice with any filing you make with the court.
Discharge of Debts      The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                        never try to collect the debt from the debtor. If you believe that the debtor is not entitled to a discharge under
                        Bankruptcy Code § 1328(f), you must file a motion objecting to discharge in the bankruptcy clerk's office by the
                        "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts" listed on the front
                        of this form. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code § 523 (a)(2) or (4),
                        you must file a complaint in the bankruptcy clerk's office by the same deadline. The bankruptcy clerk's office must
                        receive the motion or the complaint and any required filing fee by that deadline.
Exempt Property         The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                        to creditors, even if the debtor's case is converted to chapter 7. The debtor must file a list of all property claimed as
                        exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an exemption claimed by the
                        debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office must
                        receive the objection by the "Deadline to Object to Exemptions" listed on the front side.
Bankruptcy Clerk's      Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                  on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                        property claimed as exempt, at the bankruptcy clerk's office.
Creditor with a         Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address         case.
                             Refer to Other Side for Important Deadlines and Notices
The Court will dismiss this case without a hearing if the debtor(s) do not timely file all required documents and if no request for a
hearing on dismissal is filed within 21 days after the petition is filed. The Clerk will give notice of the hearing on dismissal only to the
party requesting the hearing, the debtor and the trustee.




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                                                United States Bankruptcy Court
                                                Eastern District of Michigan
 In re:                                                                                                     Case No. 13-52817-swr
 Robert Adams                                                                                               Chapter 13
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0645-2                  User: lcall                        Page 1 of 2                          Date Rcvd: Jul 02, 2013
                                       Form ID: b9i                       Total Noticed: 3


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jul 04, 2013.
 db            +Robert Adams,   3986 Fieldview Road,  Lake Orion, MI 48360-2500
 tr             Krispen S. Carroll,   719 Griswold,  1100 Dime Building,   Detroit, MI 48226

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 aty           E-mail/Text: kwk@kevlaw.com Jul 02 2013 21:18:21     Kevin W. Kevelighan,   P.O. Box 399,
                Bloomfield Hills, MI 48303
                                                                                             TOTAL: 1

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 04, 2013                                       Signature:




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District/off: 0645-2         User: lcall                 Page 2 of 2                   Date Rcvd: Jul 02, 2013
                             Form ID: b9i                Total Noticed: 3


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 2, 2013 at the address(es) listed below:
              David Wm Ruskin    ecf-emails@det13.com
              Kevin W. Kevelighan    on behalf of Debtor Robert Adams kwk@kevlaw.com
              Krispen S. Carroll    notice@det13ksc.com, ecfinfo@det13ksc.com
                                                                                            TOTAL: 3




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